Dear Chief Perkins:
In response to your recent inquiry, the law prohibits one from holding the office of city councilman while also holding employment with the municipal police department. R.S. 42:63(D) provides:
  D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court. (Emphasis added).
There is nothing in the law which would prohibit one from being a candidate for city councilman, while still employed as city jailer, where civil service rules are inapplicable. However, should he be elected, he must resign from his current employment.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             BY: __________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams
Date Released:  June 25, 2003